Case 1:23-cv-11808-ESK-EAP Document 216 Filed 08/02/24 Page 1 of 1 PageID: 4499




                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY



  COMMODITY FUTURES TRADING
  COMMISSION,
                                                     Civil Action No. 23-11808 (ESK)(EAP)
                         Plaintiff,

           v.                                              ORDER OF SPECIAL MASTER

  TRADERS GLOBAL GROUP INC., et al.,

                     Defendants.


 LINARES, J.

         The Special Master having held a status conference with counsel for the parties on July 29,

 2024 for purposes of setting a schedule and hearing date with respect to Defendants’ Motion for

 Sanctions (ECF No. 172); and for the reasons set forth on the record during the status conference;

         IT IS on this 30th day of July, 2024,

         ORDERED that a pre-hearing conference shall be held via zoom on August 29, 2024 at

 10:00 am; and it is further

         ORDERED that an evidentiary hearing is scheduled on September 19, 2024 and

 September 20, 2024 commencing at 9:00 am in Newark, N.J., with the specific location of the

 hearing to be confirmed; and it is further

         ORDERED that if the Special Master determines that a third day of testimony is necessary,

 the hearing shall be continued on September 25, 2024 at 2:00 pm in Newark, N.J.

         SO ORDERED.

                                                 __/s/ Jose L. Linares_______________________

                                                 Hon. Jose L. Linares, U.S.D.J. (Ret.)



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